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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                        v.                          ) Case No. 1:21-cr-175
                                                    )
 ETHAN NORDEAN, et al.,                             ) Judge Timothy J. Kelly
                                                    )
        Defendants.                                 )
                                                    )

    DEFENDANT NORDEAN’S NOTICE OF EVIDENCE REFERENCED DURING
                    HEARING ON APRIL 6, 2021

       Following the detention hearing on April 6, the government submitted to chambers, and

provided to counsel for Ethan Nordean, a video file with the Bates number

“21CR175_00001495_PARTIAL.mp4.” ECF No. 51.

       Nordean gives notice that he has submitted to chambers, and the government, a video file

with the Bates number “NORDEANPROD_00000001.mp4.” This is a shortened version of the

same video produced by the government to Nordean’s counsel on March 26. Nordean has added

red circle annotations and freeze-framing to highlight specific portions of the clip.

Dated: April 6, 2021                          Respectfully submitted.
                                              DAVID B. SMITH, PLLC

                                              /s/ David B. Smith
                                              David B. Smith (D.C. Bar No. 403068)
                                              108 N. Alfred St.
                                              Alexandria, VA 22314
                                              Phone:(703)548-8911
                                              Fax:(703)548-8935
                                              dbs@davidbsmithpllc.com

                                              Nicholas D. Smith (D.C. Bar No. 1029802)
                                              7 East 20th Street
                                              New York, NY 10003
                                              Phone: (917) 902-3869
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                                              nds@davidbsmithpllc.com


                                      Certificate of Service

       I hereby certify that on the 6th day of April, 2021, I filed the foregoing brief with the Clerk

of Court using the CM/ECF system, which will send a notification of such filing (NEF) to the

following CM/ECF user(s):

              Jim Nelson
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-6986

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                      /s/ David B. Smith
                                                      David B. Smith, D.C. Bar No. 403068
                                                      David B. Smith, PLLC
                                                      108 North Alfred Street, 1st FL
                                                      Alexandria, Virginia 22314
                                                      (703) 548-8911 / Fax (703) 548-8935
                                                      dbs@davidbsmithpllc.com
                                                      Counsel to Ethan Nordean
